   Fill in this information to identify the case:

Debtor 1                 John Christopher Roberts
                         _____________________________________________________________________


Debtor 2                Christine Ann Toukatly
                        _____________________________________________________________________
(Spouse, if filing)

                                        Middle District of Pennsylvania (Wilkes­Barre)
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             17­01496
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                     12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             6
                                                                                                   Court claim no. (if known): _______________________
 JPMorgan Chase Bank, National Association




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                           07/01/2019
                                                                                                                                            _____________


                                                                                                  New total payment:
                                                                                                                                             576.01
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      5 ____
                                                                    ____ 0 ____
                                                                            5 ____
                                                                                8

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

               No
            
            ✔   Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
                for the change. If a statement is not attached, explain why:



                                           226.77                                                                                 227.82
                Current escrow payment: $ _________________                                                 New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔   No
               Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

                Current principal and interest payment: $ __________________                    New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
             ✔
                 No
                 Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
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                     John Christopher Roberts                                                                  17­01496
      Debtor 1       ________________________________________________________              Case number (if known) ______________________
                     First Name         Middle Name      Last Name




 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Edwin Hill
      ______________________________________________________________
      Signature
                                                                                       05/20/2019
                                                                                 Date _______________




 Print:______________________________________________________________
        Edwin Hill                                                                Vice President
                                                                                 ____________________________________________________________
        First Name                Middle Name            Last Name               Title


 Company JPMorgan Chase Bank, N.A.
         ____________________________________________________________

 Address    Chase Records Center Attn: Correspondence Mail
            _____________________________________________________________
            Number                    Street

            700 Kansas Lane, Mail Code LA4-5555
            _____________________________________________________________
            Address 2

             Monroe                                  LA      71203
            _____________________________________________________________
              City                                          State     ZIP Code



                     866-243-5851                                                 PCN_Escalations@chase.com
 Contact phone _________________________                                         ____________________________________________________________
                                                                                 Email




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                        UNITED STATES BANKRUPTCY COURT
                                               Middle District of Pennsylvania (Wilkes-Barre)


                                                        Chapter 13 No. 17-01496
                                                        Judge: Robert N. Opel II

In re:
John Christopher Roberts & Christine Ann Toukatly
                                              Debtor(s).

                                              CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before May 21, 2019 via filing with the US
Bankruptcy Court's CM ECF system and/or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid


Debtor:                                By U.S. Postal Service First Class Mail Postage Prepaid
                                        John Christopher Roberts
                                        1180 Breaker St

                                        Dickson City PA 18519-1212



                                       By U.S. Postal Service First Class Mail Postage Prepaid
                                        Christine Ann Toukatly
                                        1180 Breaker St

                                        Dickson City PA 18519-1212


Debtor’s Attorney:                     By U.S. Postal Service First Class Mail Postage Prepaid
                                        Jason Paul Provinzano
                                        Law Offices of Jason P. Provinzano, LLC
                                        16 W. Northampton Street

                                        Wilkes Barre PA 18701


                                       By U.S. Postal Service First Class Mail Postage Prepaid
                                        Jason Paul Provinzano
                                        Law Offices of Jason P. Provinzano, LLC
                                        16 W. Northampton Street

                                        Wilkes Barre PA 18701


Trustee:                               By U.S. Postal Service First Class Mail Postage Prepaid
                                        Charles J DeHart, III (Trustee)
                                        Trustee
                                        8125 Adams Drive, Suite A

                                        Hummelstown PA 17036

                                                              _______________________________________________
                                                              /s/Edwin Hill
                                                              Vice President
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                                                           JPMorgan             Entered 05/20/19 17:24:51
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